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10
   (Additional Attorneys Listed on Signature Pages)
11
   Attorneys for Defendants
12
13                      UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15                             SOUTHERN DIVISION
16
   NATIONAL ASSOCIATION FOR THE            )   No. SACV 07-0794 AG (ANX)
17 ADVANCEMENT OF COLORED                  )
   PEOPLE (NAACP),                         )   CLASS ACTION
18                                         )
                   Plaintiff,              )   (1) NOTICE OF JOINT MOTION
19                                         )       AND JOINT MOTION OF
                                           )       DEFENDANTS TO DISMISS
20    v.                                   )       PLAINTIFF¶S SECOND
                                           )       AMENDED COMPLAINT;
21 AMERIQUEST MORTGAGE                     )       MEMORANDUM OF POINTS
   COMPANY, et al.,                        )       AND AUTHORITIES IN
22                                         )       SUPPORT THEREOF;
                    Defendants.            )
23                                         )   (2) [PROPOSED] ORDER (Lodged
                                           )       Under Separate Cover)
24                                         )
                                           )   ORAL ARGUMENT REQUESTED
25                                         )
                                           )   Date: June 2, 2008
26                                         )   Time: 10:00 a.m.
                                           )   Place: Courtroom 10D
27                                         )          Santa Ana Courthouse
                                           )   Judge: Hon. Andrew J. Guilford
28
                 NOTICE OF JOINT MOTION AND JOINT MOTION TO DISMISS
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 1               NOTICE OF JOINT MOTION AND JOINT MOTION
 2
     TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 3
 4        PLEASE TAKE NOTICE THAT at 10:00 a.m., on June 2, 2008, or as soon
 5 thereafter as the matter may be heard in Courtroom 10D of the United States District
 6 Court for the Central District of California, Southern Division, located at 411 West
 7 Fourth Street, Room 1053, Santa Ana, CA 92701-4516, the Honorable Andrew J.
 8 Guilford presiding, Defendants named as Ameriquest Mortgage Company, Fremont
 9 Investment & Loan, Option One Mortgage Corporation, Accredited Home Lenders,
10 Inc., Bear Stearns Residential Mortgage Corporation d/b/a Encore Credit,
11 CitiMortgage, First Franklin Financial Corporation, HSBC Finance Corporation,
12 GMAC Mortgage Group, LLC, GMAC ResCap, National City Corporation, First
13 Tennessee Bank d/b/a First Horizon National Corporation, Washington Mutual, Inc.,
14 Long Beach Mortgage Company, J.P. Morgan Chase & Co., Chase Bank USA, NA,
15 SunTrust Mortgage, and Defendant WMC Mortgage, LLC, successor-in-interest to
16 Defendant named as WMC Mortgage Corporation, (³Defendants´) will, and hereby
17 do, jointly move the Court pursuant to Federal Rules of Civil Procedure 12(b)(1) and
18 12(b)(6) to dismiss with prejudice all claims asserted against them in Plaintiff
19 National Association for the Advancement of Colored People¶s (³Plaintiff´) Second
20 Amended Complaint (³SAC´) for lack of standing and subject matter jurisdiction
21 and for failure to state a claim upon which relief may be granted. The grounds for
22 this motion are:
23        1.    Plaintiff lacks standing to bring the claims in the SAC either in its own
24 right or on organizational and associational grounds.
25        2.    The SAC is factually deficient, implausible, and otherwise fails to assert
26 cognizable claims under Federal Rule of Civil Procedure 8 and Supreme Court
27 precedent.
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 1         3.    $SDUW IURP 3ODLQWLII¶V IDLOXUH WR SURSHUO\ SOHDG LWV DOOHJDWLRQV LQ WKH
 2 SAC, the SAC also suffers from the fatal legal defect that, under recent Supreme
 3 Court precedent, neither the Equal Credit Opportunity Act (³ECOA´), nor the Fair
 4 Housing Act (³FHA´) permits disparate impact claims.
 5         4.    At a minimum, the Court should dismiss Plaintiff¶s FHA claim because
 6 ECOA bars Plaintiff from proceeding and recovering under both it and the FHA.
 7         This joint motion is based on this Notice of Joint Motion and Joint Motion, the
 8 attached Memorandum of Points and Authorities, all pleadings and papers filed in
 9 this action, and such other materials as may be presented to the Court before, at, or in
10 connection with the hearing.
11         Consistent with this Court¶s March 14, 2008 Case Management Order, certain
12 Defendants, with the filing of this joint motion, are concurrently filing individual
13 motions to dismiss this action pursuant to Federal Rule of Civil Procedure 12(g)(1),
14 among other provisions. By joining this joint motion, any such Defendants do not
15 waive any applicable defenses advanced in their individual motions.
16         This joint motion is made following the conference of counsel pursuant to
17 Local Rule 7-3, which took place on March 28, 2008.
18
19
     Dated: April 4, 2008                    SKADDEN, ARPS, SLATE, MEAGHER &
20                                           FLOM LLP
21
                                             By: /s/ Raoul D. Kennedy
22                                             Raoul D. Kennedy
23                                               Attorneys for Defendants named as Bear
24                                               Stearns Residential Mortgage Corporation
                                                 d/b/a Encore Credit, Fremont Investment &
25                                               Loan, GMAC Mortgage Group, LLC,
26                                               GMAC ResCap, and National City
                                                 Corporation
27
28                                              - ii -
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 1 Dated: April 4, 2008                 BUCHALTER NEMER
 2
                                        By: /s/ Bernard E. LeSage
 3                                        Bernard E. LeSage
 4
                                           Attorneys for Defendant named as
 5                                         Ameriquest Mortgage Company
 6
     Dated: April 4, 2008               MUNGER, TOLLES & OLSON LLP
 7
                                        By: /s/ Ronald K. Meyer
 8
                                          Ronald K. Meyer (State Bar No. 71944)
 9
                                           Attorneys for WMC Mortgage, LLC,
10                                         successor-in-interest to Defendant named
11                                         as WMC Mortgage Corporation
12 Dated: April 4, 2008                 REED SMITH LLP
13
                                        By: /s/ Tyree P. Jones, Jr.
14                                        Tyree P. Jones, Jr.
15
                                           Attorneys for Defendant named as First
16                                         Franklin Financial Corporation
17
     Dated: April 4, 2008               STROOCK & STROOCK & LAVAN LLP
18
19                                      By: /s/ Julia B. Strickland
                                          Julia B. Strickland
20
21                                         Attorneys for Defendant named as HSBC
                                           Finance Corporation
22
23 Dated: April 4, 2008                 BUCKLEY KOLAR LLP
24                                      By: /s/ Matthew P. Previn
25                                        Matthew P. Previn
26
                                           Attorneys for Defendant named as
27                                         Accredited Home Lenders, Inc.
28                                        - iii -
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 1 Dated: April 4, 2008                 O¶MELVENY & MYERS LLP
 2
                                        By: /s/ Brian P. Brooks
 3                                        Brian P. Brooks (State Bar No. 172151)
 4
                                           Attorneys for Defendant named as Option
 5                                         One Mortgage Corporation
 6
     Dated: April 4, 2008               GOODWIN PROCTOR LLP
 7
                                        By: /s/ Brooks R. Brown
 8
                                          Brooks R. Brown
 9
                                           Attorneys for Defendant named as First
10
                                           Tennessee Bank d/b/a First Horizon
11                                         National Corporation
12
     Dated: April 4, 2008               MORRISON & FOERSTER LLP
13
14                                      By: /s/ Michael J. Agoglia
                                          Michael J. Agoglia
15
16                                         Attorneys for Defendants named as
                                           Washington Mutual, Inc., Long Beach
17                                         Mortgage Company, J.P. Morgan Chase &
18                                         Co., and Chase Bank USA, NA

19 Dated: April 4, 2008                 MCKENNA LONG & ALDRIDGE LLP
20
                                        By: /s/ Will S. Skinner
21                                        Will S. Skinner
22
                                           Attorneys for Defendant named as
23                                         SunTrust Mortgage
24
25
26
27
28                                        - iv -
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 1
     Dated: April 4, 2008               KEESAL, YOUNG & LOGAN
 2
 3                                      By: /s/ Stacey Garrett
                                          Stacey Garrett
 4
 5                                         Attorneys for Defendant named as
                                           CitiMortgage
 6
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 2
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15
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         of Credit, available at http://www.federalreserve.gov/boarddocs/
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  1                             PRELIMINARY STATEMENT
  2         In its 6HFRQG$PHQGHG&RPSODLQW ³6$&´ , the National Association for the
  3 $GYDQFHPHQW RI &RORUHG 3HRSOH ³1$$&3´ RU ³3ODLQWLII´ , a political advocacy
  4 organization that itself lacks standing, identifies no specific individual who has been
  5 injured. Putting aside that the SAC is factually wrong²the 18 named financial
  6 institutions, which UDQJHIURPWKHQDWLRQ¶VODUJHVWEDQNVWRDVPDOOGHIXQFWILQDQFH
  7 company in California, do not discriminate against borrowers on the basis of race,
  8 much less in an identical manner as Plaintiff alleges²its legal deficiencies also are
  9 manifest. Given the opportunities that Plaintiff has already had to correct them, the
10 SAC should be dismissed with prejudice.1
11          First, Plaintiff lacks standing of any kind. The SAC does not reference a
12 representative member plaintiff. Plaintiff, moreover, alleges no injury, and instead,
13 LQ FRQFOXVRU\ IDVKLRQ SOHDGV PHUHO\ WKDW WKH DOOHJHG FRQGXFW ³tends´ WR KXUW it in
14 unspecified ways without pleading any causal link. Plaintiff itself is not a credit
15 applicant, has no privity with any of the Defendants, and simply cannot establish any
16 form of standing that would give the Court jurisdiction over its claims.
17          Even if the Plaintiff had standing²which it does not²it cannot state a claim
18 under Rule 12(b)(6) because it fails to offer factual allegations in the SAC that
19 plausibly support its claims.           3ODLQWLII¶V DOOHJDWLRQV are vague, conclusory,
20 implausible²if even identifiable²and otherwise insufficient under Federal Rule of
21    1
         As explained more fully in the Factual and Procedural Background Section,
22    Plaintiff has already amended its First Amended Complaint in an unsuccessful
      attempt to correct the defects identified by the Defendants during a February 2008
23    ³PHHWDQGFRQIHU´7KH&RXUWWKHUHIRUHVKRXOGQRWJUDQW3ODLQWLIIIXUWKHUOHDYHWR
24    amend the SAC, and, instead, should dismiss the SAC with prejudice. See, e.g.,
      Gompper v. VISX, Inc., 298 F.3d 893, 898 (9th Cir. 2002); see also Wagner v.
25    Daewoo Heavy Indus. Am. Corp., 314 F.3d 541, 542 (11th Cir. 2002) (en banc); cf.
26    'LPDLRY'HPRFUDWLF1DW¶O&RPP., No. 07-14816, 2008 WL 744430, at *3-4 (11th
      Cir. Mar. 21, 2008).
27
28
                                                 -1-
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  1 Civil Procedure 8 and recent Supreme Court precedent. The SAC fails to make any
  2 allegations specific to any of the Defendants, and Plaintiff fails to plead the most
  3 basic elements of its disparate impact claims by not identifying (1) a specific or
  4 actionable policy of any, let alone each, of the Defendants, (2) an actual disparate
  5 impact, or (3) causal connection between the two.
  6        $VLGH IURP 3ODLQWLII¶V IDLOXUH WR SURSHUO\ SOHDG LWV DOOHJDWLRQs in the SAC,
  7 Plaintiff cannot state cognizable disparate impact claims under either the FHA or the
  8 ECOA because, as recent Supreme Court precedent makes clear, Congress only
  9 authorizes disparate impact liability when it uses certain statutory language that is
10 absent from both statutes. Finally, and at a minimum, the Court should dismiss with
11 prejudice WKH 3ODLQWLII¶V FODLPV XQGHU WKH )+$ EHFDXVH DV WKH (&2$ DQG UHOHYDQW
12 case law explicitly state, they are mutually exclusive of its claims under the ECOA.
13                  FACTUAL AND PROCEDURAL BACKGROUND
14         The short procedural history of this case highlights the deficiencies of the
15 SAC. On July 11, 2007, during the weekend of its annual convention, the NAACP
16 filed its original complaint, which was accompanied by an extensive press release,
17 against 14 defendants. Instead of serving the Complaint, the NAACP spent the next
18 six months conducting a press campaign openly soliciting representative plaintiffs.
19 Despite its extensive initial media efforts, the NAACP still has not identified a single
20 individual allegedly subject to discrimination by the Defendants.
21         Not until after this Court¶s December 13, 2007 entry of an Order to Show
22 Cause why this case should not be dismissed, did Plaintiff serve its First Amended
23 Complaint (³FAC´) on the Defendants. Although the FAC named four additional
24 defendants, it was very similar to the July 2007 complaint²an amalgamation of
25 inaccurate and incomplete lending industry studies devoid of allegations specific to
26 any Defendant.      Following a ³meet and confer´ initiated on February 12, 2008
27 among counsel concerning the Defendants¶ anticipated joint motion to dismiss the
28                                             -2-
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  1 FAC on, among other grounds, its lack of particularized allegations, Plaintiff
  2 requested an opportunity to amend the FAC to address these issues. On March 7,
  3 2008, Plaintiff filed its SAC, concurrently issuing another press release that
  4 reiterated its generalized allegations against the Defendants named in the SAC and
  5 claimed credit for ³fast-tracking´ this litigation. The SAC, however, fails to address
  6 any of the deficiencies in the FAC that the Defendants identified during the meet and
  7 confer process, with Plaintiff merely adding a reference to 2006 census data
  8 concerning household income levels, which it repeats verbatim for each of the
  9 Defendants.
10         The SAC, like its predecessor complaints, is conclusory and its allegations
11 uniform²not one allegation is specific to any one defendant, and no viable claims
12 are stated. The SAC relies on the sole ³fact´ that all the Defendants are, or were,
13 mortgage lenders as the basis of its allegations that²contrary to reason and reality²
14 each offered the same mortgage products, underwrote available products according
15 to identical policies and guidelines, engaged in the same conduct, and had the same
16 intent. In a misguided and ineffective effort to hide this glaring legal deficiency in
17 both the original Complaint and the FAC, the SAC does no more than to divide the
18 Defendants into ³subclasses,´ and with respect to each defendant, separately repeat
19 verbatim the same 48 paragraphs to allege that each defendant purportedly placed
20 African-American borrowers into higher-cost subprime loans than their similarly
21 situated Caucasian counterparts. In fact, many of the named defendants have never
22 originated, or currently do not originate, mortgage loans, subprime or otherwise.
23 Others have never offered prime mortgage loans, and, thus, it is impossible that they
24 could have²as Plaintiff alleges²³steered´ borrowers into higher cost subprime
25 loans in lieu of prime loans. The Court should not permit Plaintiff to avoid scrutiny
26 RIWKH6$&¶VQXPHURXVGHILFLHQFLHVE\lumping the Defendants together.
27
28                                           -3-
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  1         Plaintiff also lards the SAC with selective references to various studies that it
  2 claims demonstrate that Defendants, collectively, have discriminated in their
  3 underwriting and pricing of subprime mortgage loans.             None of these studies
  4 identifies individual lenders. Instead, the studies rely on aggregate industry data
  5 lenders provide to the federal government under the Home Mortgage Disclosure Act
  6 (³HMDA´),2 which does not include information about borrower debt-to-income
  7 ratios or credit histories, property values or other key credit-worthiness and pricing
  8 information that is essential to evaluating allegations of discriminatory lending.3
  9         In light of both WKH6$&¶Vmany legal deficiencies and the procedural history
10 of this case demonstrating that the Plaintiff had ample opportunity to correct those
11 defects prior to filing its SAC, the Court should dismiss the SAC with prejudice.
12                                        ARGUMENT
13 I.       PLAINTIFF LACKS ORGANIZATIONAL STANDING TO ASSERT
            THE CLAIMS IN THE SAC.
14
15          As a threshold matter, the Court lacks subject matter jurisdiction over the
16 claims in the SAC. Despite presenting a third iteration of its allegations after ³meet
17
      2
18      Codified at 12 U.S.C. §§ 2801-09.
      3
        See, e.g., Robert B. Avery et al., New Information Reported Under HMDA and its
19    Application in Fair Lending Enforcement, FED. RES. BULL., at 393-394 (Summer
        H[SODLQLQJ WKDW ³UHDFKLQJ FRQYLQFLQJ FRQFOXVLRQV´ DV WR ZKHWKer specific
20    OHQGHUVGLVFULPLQDWH³UHTXLUHVLQVWLWXWLRQ-VSHFLILFDQDO\VLV´WKDWLV³QRWSRVVLEOHZLWK
      WKH +0'$ GDWD DORQH´ DQG ³LPSURSHUO\ DQDO\]HG SULFLQJ GLIIHUHQFHV´ EDVHG RQ
21    ³UDZGDWDDORQHFDQ OHDGWR LQDFFXUDWHFRQFOXVLRQVZKLFK LQ WXUQ PD\EH XQIDLr to
      SDUWLFXODU LQVWLWXWLRQV´  3ODLQWLII¶VDYRLGDQFHRIDQDO\VHVLQYROYLQJFUHGLWVFRUHVLV
22    not surprising given that the Federal Reserve Board in a report to Congress recently
      concluded that the use of credit scores is not discriminatory. The study found that
23    credit scoring: (1) has increased both the availability and affordability of credit for
      all populations, (2) is predictive of credit risk, and (3) is not a proxy for race. See
24    Board of Governors of the Federal Reserve Board, Report to the Congress on Credit
      Scoring and its Effects on the Availability and Affordability of Credit, available at
25    http://www.federalreserve.gov/boarddocs/RptCongress/creditscore/creditscore.pdf.
      Plaintiff does reference a 2006 Center for Responsible Lending Study that purports
26    to show the disparate impact that HMDA data cannot. (SAC ¶¶ 6 and 60-64.)
      Among its other defects, however, the study fails to compare the borrowers Plaintiff
27    has put at issue in this action. See infra Section III.B.2.
28                                              -4-
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  1 and confer´ discussions with Defendants, Plaintiff still has not placed before this
  2 Court a concrete case or controversy capable of judicial resolution, as Article III and
  3 countless Supreme Court cases require. Plaintiff, therefore, fails to establish its
  4 standing on either an organizational or an associational basis. No organization, not
  5 even one as storied as the NAACP, can avoid the preliminary requirement of
  6 standing to seek relief from the courts. And, even if the SAC articulated an injury-
  7 in-fact that might confer standing upon the Plaintiff, which it does not and cannot,
  8 the Court must, nevertheless, dismiss Plaintiff¶s ECOA and Civil Rights Act claims
  9 because any such injury falls outside the zone of interests that these statutes protect.
10         Standing ³is the threshold question in every federal case, determining the
11 power of the court to entertain the suit.´ Warth v. Seldin, 422 U.S. 490, 498, 95 S.
12 Ct. 2197, 2205, 45 L. Ed. 2d 343 (1975). A plaintiff without Article III standing
13 presents no ³µcase or controversy,¶ and an Article III federal court therefore lacks
14 subject matter jurisdiction over the suit.´ Cetacean Cmty. v. Bush, 386 F.3d 1169,
15 1174 (9th Cir. 2004) (citation omitted).
16         To establish Article III standing, Plaintiff must first establish that it has
17 suffered an ³injury in fact´²a harm that is actual or imminent, not conjectural or
18 hypothetical. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 112 S. Ct. 2130,
19 2136, 119 L. Ed. 2d 351 (1992). The injury in fact must constitute an ³invasion of a
20 legally protected interest which is µconcrete and particularized.¶´ Legal Aid Soc¶y of
21 Haw. v. Legal Servs. Corp., 145 F.3d 1017, 1030 (9th Cir. 1998) (citation omitted).
22 Additionally, the injury in fact element ³requires that the party seeking review be
23 himself among the injured.´ Sierra Club v. Morton, 405 U.S. 727, 734, 92 S. Ct.
24 1361, 1366, 31 L. Ed. 2d 636 (1972). Second, there must be causation²³µa fairly
25 traceable connection between the plaintiff¶s injury and the complained-of conduct of
26 the defendant.¶´ Legal Aid Soc¶y of Haw., 145 F.3d at 1030 (citation omitted).
27 Finally, there must be redressability²³a likelihood that the requested relief will
28                                             -5-
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  1 redress the alleged injury.´ Id. To survive dismissal, the Plaintiff bears the burden
  2 of establishing that it has satisfied each of the elements of constitutional standing,
  3 and mere ³labels and conclusions´ are not enough. See Bell Atl. Corp. v. Twombly,
  4 127 S. Ct. 1955, 1964-65, 167 L. Ed. 2d 929 (2007).
  5        A.    Plaintiff Has Not Alleged An Injury Sufficient to Establish Standing
                 to Bring Its FHA Claims.
  6
  7        Plaintiff alleges one injury in the SAC²that Defendants have purportedly
  8 frustrated its mission and diverted its resources. This injury is merely an abstract
  9 social interest, and is not²as it must be to withstand scrutiny²sufficiently concrete
10 or demonstrable. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 379, 102 S.
11 Ct. 1114, 1124-25, 71 L. Ed. 2d 214 (1982) (holding, in a racial steering case, that
12 plaintiff¶s six-month investigation, including use of testers, into defendant¶s rental
13 practices was a ³concrete and demonstrable injury to the organization¶s activities²
14 with the consequent drain on the organization¶s resources´ that established standing).
15 The SAC alleges only that Defendants¶ lending policies ³tend to frustrate the
16 association¶s mission, reduce contributions and divert its resources.´ (SAC ¶ 13)
                    4
17 (emphasis added.)       It, however, fails to identify what resources Plaintiff has
18 diverted, or how it has diverted them. Such terse, abstract allegations, without any
19 supporting facts, fall below the mark set by Havens Realty Corp., and the Ninth
20 Circuit has squarely rejected them as inadequate. See Hood River County v. United
21 States, 532 F.2d 1236, 1239 (9th Cir. 1976) (³A general allegation . . . that they have
22
23    4
     Allegations that the DefendaQWV¶SUDFWLFHVFDXVHGDUHGXFWLRQRIFRQWULEXWLRQVDUH
24 attenuated and meritless. The SAC fails to link any particular Defendant¶V alleged
   FRQGXFW ZLWK DQ\ LQGLYLGXDO¶V GHFLVLRQ WR UHGXFH FRntributions to the Plaintiff.
25 Alleged reductions in voluntary contributions not linked to specific conduct cannot
   state a cognizable legal interest that supports standing. See, e.g., Cmty. for Creative
26 Non-Violence v. Pierce, 814 F.2d 663, 669 (D.C. Cir. 1987) (rejecting as inadequate
   and too attenuated the alleged causal link between the alleged acts and, among other
27 injuries, a reduction in voluntary contributions and grants).
28                                           -6-
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  1 been adversely affected is insufficient´ to confer standing on organizational
  2 plaintiffs).
  3        An organizational plaintiff, moreover, cannot rely on the prosecution of a legal
  4 action to bootstrap its standing, as Plaintiff seeks to do here. See, e.g., Walker v.
  5 City of Lakewood, 272 F.3d 1114, 1124 n.3 (9th Cir. 2001) (³[W]e agree that a
  6 plaintiff cannot establish standing simply by filing its own lawsuit . . . .´); Spann v.
  7 Colonial Vill., Inc., 899 F.2d 24, 27 (D.C. Cir.   ³$QRUJDQL]DWLRQFDQQRWRI
  8 course, manufacture the injury necessary to maintain a suit from its expenditure of
  9 UHVRXUFHVRQWKDWYHU\VXLW´ .
10         B.      Plaintiff Never Applied For Credit From Any Defendant And Lacks
                   Standing To Assert a Claim Under the ECOA and Civil Rights Act.
11
12         The Plaintiff¶s ECOA and Civil Rights Act claims must be dismissed because,
13 even if it pleaded facts sufficient to establish an injury-in-fact from the Defendants¶
14 conduct²which it has not done²such an injury still falls outside the zone of
15 interests these statutes protect. See Valley Forge Christian Coll. v. Ams. United For
16 Separation Of Church & State, Inc., 454 U.S. 464, 474-475, 102 S. Ct. 752, 760, 70
17 L. Ed. 2d 700 (1982).        Prudential limitations preclude a court from exercising
18 jurisdiction over an otherwise sufficient Article III injury when that injury falls
19 outside ³the zone of interests´ the statute at issue was designed to protect. Id.
20 (citation omitted) (explaining courts do not do so in order to avoid ³adjudicating
21 µabstract questions of wide public significance¶ which amount to µgeneralized
22 grievances,¶ pervasively shared and most appropriately addressed in the
23 representative branches´).
24         The ECOA¶s zone of interests is limited to ³applicants´ for credit.
25 Specifically, the ECOA makes it ³unlawful for any creditor to discriminate against
26 any applicant, with respect to any aspect of a credit transaction . . . on the basis of
27 race . . . .´ 15 U.S.C. § 1691(a)(1) (emphasis added). ³Applicant´ is defined under
28                                            -7-
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  1 the statute as ³any person who applies to a creditor directly for an extension,
  2 renewal, or continuation of credit, or applies to a creditor indirectly by use of an
  3 existing credit plan for an amount exceeding a previously established credit limit.´
  4 15 U S.C. §§ 1691a (emphasis added); see also 12 C.F.R. § 202.2(e). The ECOA¶s
  5 civil remedies further underscore that the statute¶s anti-discrimination protections
  6 extend only to ³aggrieved applicants´²which the Plaintiff is not.               15 U.S.C.
  7 §§ 1691e(a)-(c) (emphasis added).
  8        The SAC does not allege that the Plaintiff is an ³applicant,´ aggrieved or
  9 otherwise.    Plaintiff, therefore, lacks standing to pursue its ECOA claim.            See
10 Rainbow Push Coal. v. AmSouth Bank, 2005 WL 637834, at *2 (M.D. Tenn. Mar.
11    RUJDQL]DWLRQ WKDW GLG QRW DSSO\ IRU FUHGLW ZLWK GHIHQGDQW ³GRes not fall
12 ZLWKLQWKH]RQHRI LQWHUHVWV&RQJUHVV PHDQWWRSURWHFWZKHQHQDFWLQJWKH (&2$´ ;
13 Evans v. First Fed. Sav. Bank of Ind., 669 F. Supp. 915, 922 (N.D. Ind. 1987)
14 (motion to dismiss granted because the ECOA is ³meant to protect those individuals
15 who actually apply for credit´) (emphasis added). The Court, thus, should dismiss
16 Plaintiff¶s ECOA claims.
17         As with the ECOA, prudential limitations on standing will preclude claims
18 under Sections 1981 and 1982 of the Civil Rights Act when a plaintiff²as here²
19 fails to show its alleged injury is within the zone of interests these provisions protect.
20 See Saunders v. Gen. Servs. Corp., 659 F. Supp. 1042, 1054 (E.D. Va. 1987).
21 Sections 1981 and 1982 of the Civil Rights Act protect²respectively²the right to
22 make and enforce contracts and to hold property free from racial discrimination.
23 Plaintiff, however, has not alleged it sought or made contracts for mortgage loans
24 with any Defendant.
25         In Saunders, a plaintiff organization sued apartment complex operators for
26 discriminatory advertising. The court held that, even though the plaintiff met Article
27 III¶s standing requirements, prudential limitations on claims under Sections 1981 and
28                                              -8-
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  1 1982 precluded it from having standing. Id. at 1054 (noting that ³standing under the
  2 Civil Rights Act is more limited [than the FHA]´). The court held the plaintiff
  3 lacked standing after finding that the plaintiff suffered no denial of rights by
  4 defendants¶ conduct when it merely claimed an indirect harm by defendants¶
  5 violation of the rights of others. Id.
  6        Analogous to Saunders, Plaintiff here makes no allegations that it interacted
  7 with a single Defendant. Instead, Plaintiff in this case presents only generalized
  8 allegations of an indirect harm due to alleged violations of third-party rights, a
  9 deficiency that warrants dismissal.
10         C.     Plaintiff Fails to Allege Defendants¶ Conduct Caused Its Injuries.
11         Even if the Court were to find that the Plaintiff satisfied both an Article III
12 injury and relevant zone of interest requirements, it still should dismiss the SAC
13 because it contains no facts that show any Defendant¶s conduct caused the Plaintiff¶s
14 alleged injury. Warth, 422 U.S. at 490. Indeed, the Plaintiff alleges no facts to show
15 it diverted resources due to any particular Defendant¶s alleged conduct. The SAC
16 merely alleges that Defendants, collectively, ³tend´ to frustrate the association¶s
17 mission and divert its resources. Courts have rejected similarly vague allegations.
18 See, e.g., Situ v. Leavitt, No. C06-2841 TEH, 2006 WL 3734373, at *10 (N.D. Cal.
19 Dec. 18, 2006).
20         In Situ, organizational plaintiffs alleged only that they had to divert resources
21 to address enrollment and subsidy issues with the challenged Medicare-related
22 medical benefits program.       The court observed that it was unclear if plaintiff¶s
23 diversion of resources resulted from the alleged conduct of the defendants or, as was
24 more likely, merely from the enactment of a complex new benefits program. Id.
25 Similarly, the Plaintiff here has failed to allege that its purported diversion of
26 resources is due to Defendants¶ alleged conduct, rather than, for example, new or
27 added demands for service its constituents have placed on it, or other reasons. Given
28                                            -9-
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  1 that the SAC is bereft of concrete facts that show even a single Defendant caused
  2 Plaintiff¶s alleged injury, the Plaintiff cannot establish its standing.
  3 II.    PLAINTIFF LACKS ASSOCIATIONAL STANDING TO MAINTAIN
           THIS ACTION IN A REPRESENTATIVE CAPACITY.
  4
  5        Associational standing is a narrow and limited exception to the general rule
  6 that litigants must assert their own rights. Black Faculty Ass¶n of Mesa Coll. v. San
  7 Diego Cmty. Coll. Dist., 664 F.2d 1153, 1156 (9th Cir. 1981).              To establish
  8 associational standing, an organizational Plaintiff must show: (1) its members would
  9 have standing to sue in their own right; (2) the interests it seeks to protect are
10 relevant to its purpose; and (3) neither its claim asserted, nor the relief it seeks,
11 requires its members to participate in the suit. Hunt v. Wash. State Apple Adver.
12 Comm¶n, 432 U.S. 333, 333, 97 S. Ct. 2434, 2436, 53 L. Ed. 2d 383 (1977). Failure
13 to satisfy even one element is fatal, and Plaintiff here has failed to satisfy two
14 required elements.
15          A.    By Not Identifying A Member With Standing To Sue Each
                  Defendant, Plaintiff Fails To Meet Hunt¶s First Required Element.
16
17         Plaintiff fails to satisfy the first prong of the well-established Hunt test
18 because the SAC neither identifies a member with individual standing, nor provides
19 a way for the Court to determine whether such a member exists. See Bayaa v.
20 United Airlines, Inc., 249 F. Supp. 2d 1198, 1203-04 (C.D. Cal 2002) (granting
21 motion to dismiss on these grounds). In the Bayaa matter, plaintiffs Bayaa and the
22 American-Arab Anti-Discrimination Committee (³ADC´) sued United Airlines
23 alleging discriminatory security profiling. ADC claimed it had over 60 documented
24 incidents of alleged racial discrimination against Arab-Americans by domestic and
25 foreign airlines, 11 of which related to United Airlines¶ conduct, and that
26 ³thousands´ of its members experienced discrimination similar to plaintiff Bayaa¶s
27 experience.
28                                              - 10 -
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  1        This Court granted United Airlines¶ motion to dismiss, holding that ADC
  2 ³failed to allege standing for one or more of its members µin their own right.¶´ Id. at
  3 1203. As the Court explained:
  4        [ADC] cannot seek relief from Defendants on behalf of American-
           Arabs all over the world who have allegedly been discriminated against
  5
           on all major airlines at various times, or on behalf of non-member
  6        passengers. Such allegations are specifically prohibited by the
           constitutional requirements of injury-in-fact and causation. Thus,
  7
           because Plaintiff ADC has failed to establish standing of its members
  8        µin their own right,¶ ADC cannot claim representational standing.
  9 Id. at 1204. The Court also held that the complaint¶s reference to the 11 Arab-
10 Americans who were allegedly discriminated against by United Airlines was
11 insufficient because the ADC did not allege that those individuals were its members.
12 Id. at 1204. Importantly, the Court held that ³[r]eports and statistics detailing µair
13 carriers discriminating¶ against passengers of Arab and Middle Eastern descent . . .
14 do nothing to bolster a claim that United Airlines caused the injuries alleged to be
15 suffered by µthousands¶ of ADC µmembers.¶´ Id. at 1204 (emphasis in original).
16 That these decisions required the identification of a member to satisfy the first prong
17 of the Hunt test pre-Twombly, which imposes more exacting pleading requirements,
18 underscores the need for such identification here.
19         As in Bayaa, the Plaintiff fails to adequately plead that even one of its
20 members has standing. Instead, the SAC includes only a single and bald allegation
21 that: ³Members of the NAACP have been injured in fact by each Defendant as
22 complained herein.´ (SAC ¶ 14.) The SAC identifies no members among the class
23 of borrowers it purports has been injured, and offers no description of their
24 ³injuries.´ It fails to state who exactly inflicted these injuries. And, it fails, even in a
25 conclusory manner, to state that the Court can redress these injuries. Plaintiff, thus,
26 completely fails to show its members enjoy standing in their own right, in violation
27 of both Hunt and Twombly¶s pleading requirements, which reject ³conclusions, and
28                                             - 11 -
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  1 [] formulaic recitation[s]´ as insufficient for notice pleading. Twombly, 127 S. Ct. at
  2 1964-65.
  3       B.     Plaintiff¶s Request for Monetary Relief and the Nature of Its Claims
                 Violates Hunt¶s Third Prong, Without Member Participation.
  4
  5        Associational standing is never appropriate in an action²class or otherwise²
  6 in which an organization seeks damages on behalf of its members. Claims for
  7 monetary relief require individualized proof. See United Union of Roofers No. 40 v.
  8 Ins. Corp. of Am., 919 F.2d 1398, 1400 (9th Cir. 1990) (³[C]laims for monetary
  9 relief necessarily involve individualized proof and thus the individual participation
10 of association members, thereby running afoul of the third prong of the Hunt test.´);
11 Bano v. Union Carbide Corp., 361 F.3d 696, 714 (2nd Cir. 2004); Nat¶l Fed¶n of the
12 Blind v. Target Corp., No. C. 06-1802, 2007 WL 2846462, at *6 (N.D. Cal. Oct. 2,
13 2007) (³Certainly, it is unlikely, if not impossible, that organizational plaintiffs
14 would have standing to pursue damages claims because the form of relief necessarily
15 requires the participation of the individual members.´) (citation omitted).
16         According to the SAC, ³[t]he NAACP brings this class action seeking
17 declaratory, monetary and injunctive relief based upon the Fair Housing Act, the
18 Equal Credit Opportunity Act and the Civil Rights Act.´ (SAC ¶ 11) (emphasis
19 added.) Each subclass, moreover, alleges it suffered ³economic injury,´ (See, e.g.,
20 SAC ¶¶ 74, 86, and passim) and has ³been actually damaged.´ (SAC ¶¶ 81, 91 and
21 passim.) Plaintiff cannot seek actual damages for an economic injury unless its
22 members participate in this suit²which they do not. Thus, Plaintiff fails to satisfy
23 Hunt¶s third requirement.
24         Even if the SAC did not request actual damages, its request for extraordinary
25 equitable relief including restitution and disgorgement, nevertheless, requires its
26 members to participate because only they are alleged to be in privity with the
27 Defendants. Smith v. Pac. Props. & Dev. Corp., 358 F.3d 1097, 1106 (9th Cir.
28                                           - 12 -
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  1 2004).     In Smith, the organizational plaintiff sought ³disgorgement of unjust
  2 enrichment´ for its claim that defendant violated the Fair Housing Amendment Act
  3 by not designing certain developments to accommodate disabled persons.              The
  4 district court dismissed the claim and held that a plaintiff may not ³properly seek to
  5 disgorge an entity with whom they are not in privity.´ Id. at 1106. The Ninth
  6 Circuit affirmed, adding that ³the remedy of disgorgement only arises where a prior
  7 relationship between the parties subject to and benefitting from disgorgement
  8 originally resulted in unjust enrichment.´ Id. The court further explained that,
  9 because the plaintiff had no prior relationship with the defendants, it was not ³the
10 rightful recipient of whatever funds could be disgorged from [defendants],´ and that
11 the issue of the plaintiff¶s associational standing was irrelevant. Id.
12           As in the Smith decision, the SAC does not assert or even suggest that the
13 Plaintiff was, at any time, in privity with any Defendant. Plaintiff does not allege it
14 applied for a mortgage, obtained a mortgage, or interacted with any Defendant.
15 Plaintiff, thus, is not the ³rightful recipient´ of any allegedly ill-gotten funds and
16 lacks standing to seek them.
17           Finally, regardless of the relief the Plaintiff seeks, its discrimination
18 allegations require member participation. See Bano, 361 F.3d at 714 (organization
19 ³lacks standing to assert claims of injunctive relief on behalf of its members where
20 µthe facts and extent¶ of the injury that gives rise to the claims for injunctive relief
21 µwould require individualized proof¶´) (citation omitted); Rent Stabilization Ass¶n v.
22 Dinkins, 5 F.3d 591, 596 (2nd Cir. 1993); Am. Baptist Churches v. Meese, 712 F.
23 Supp. 756, 765-66 (N.D. Cal. 1989).                 In Rent Stabilization, an association
24 representing landlords sought to enjoin the city¶s rent stabilization scheme as an
25 unconstitutional taking.     Plaintiff argued that it satisfied Hunt¶s third prong by
26 seeking only declaratory and injunctive relief. 5 F.3d at 596. The court, however,
27 explained that ³the relief sought is only half of the story´ because associational
28                                            - 13 -
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  1 standing is not established ³unless µneither the claim asserted nor the relief requested
  2 requires the participation of individual members in the lawsuit.¶´ Id. (quoting Hunt,
  3 432 U.S. at 343) (emphasis in original).           The Court held that plaintiff¶s claim
  4 required it to ³engage in an ad hoc factual inquiry for each landlord who alleges that
  5 he has suffered a taking;´ thus, the association lacked representative standing. Id.
  6        In American Baptist Churches, the court also ruled that the plaintiffs lacked
  7 associational standing when the complaint allegations, which challenged certain
  8 prosecutions for harboring illegal aliens, required individualized proof. 712 F. Supp.
  9 at 765-66. Applying Hunt, the Court held that the claims placed in issue ³the
10 motivation´ of undocumented aliens to enter the country and that, therefore, ³[a]s a
11 component of their claim, plaintiffs must prove that these aliens entered this country
12 to escape persecution . . . .´ Id. at 766. The Court dismissed the organization¶s
13 claims, concluding that ³[b]ecause the participation of individual members is
14 required, the plaintiff refugee organizations lack associational standing to pursue
15 these claims on their members¶ behalf.´ Id.
16         Like these cases, Plaintiff¶s claims here require member participation. As
17 required elements of its claims, Plaintiff must show, inter alia, as to each Defendant,
18 that: at least one of its members applied for credit with each Defendant, that the
19 member was qualified for credit, and that a Defendant either improperly rejected or
20 offered less favorable loan terms relative to a similarly qualified Caucasian borrower
21 of that Defendant. See Gamble v. City of Escondido, 104 F.3d 300, 305 (9th Cir.
22 1997); Pfaff v. HUD, 88 F.3d 739, 745 (9th Cir. 1996). Simply put, Plaintiff cannot
23 establish, nor can the Court assess, its discrimination claims without the details of
24 each member¶s credit transaction.        This inquiry is particularized, and requires
25 member participation from the outset. The Court, thus, must dismiss this action with
26 prejudice.
27
28                                            - 14 -
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  1 III.   PLAINTIFF HAS FAILED TO STATE A CLAIM BECAUSE ITS
           ALLEGATIONS ARE INSUFFICIENT UNDER CONTROLLING
  2
           SUPREME COURT PRECEDENTS.
  3
  4        Even if the Court has subject matter jurisdiction over the SAC (and the
  5 Defendants strongly assert it does not), Plaintiff has failed to state a claim. Indeed,
  6 despite both unequivocal cautions from the Supreme Court in the last two years that
  7 the machinery of the federal courts should not be invoked in cases like this unless the
  8 accuser brings a focused and specific claim, Smith v. City of Jackson, 544 U.S. 228,
  9 241, 125 S. Ct. 1536, 1545, 161 L. Ed. 2d 410 (2005), and the Supreme Court¶s
10 recent pronouncement that a complaint must contain enough ³factual allegations´ to
11 ³raise a right to relief above the speculative level,´ Twombly, 127 S. Ct. at 1964-65,
12 the Plaintiff has presented a complaint that is nonspecific, and conclusory. The SAC
13 falls woefully short of the basic requirement that a complaint set forth a ³statement
14 of the claim showing that the pleader is entitled to relief.´ Fed. R. Civ. P. 8(a)(2).
15         A.    The SAC Lumps Every Defendant Together, and So States No
                 Claim Against Any Of Them.
16
17         Although the SAC levels the serious charge of racial discrimination in
18 subprime lending, it is devoid of any factual allegations of specific conduct by any
19 particular Defendant, of any individual Defendant¶s specific policies or practices, of
20 any discriminatory impact in any individual Defendant¶s subprime loan population,
21 and of any particularized allegation of any Defendant¶s discriminatory intentions.
22 Instead, the SAC lumps all the Defendants together, alleging that each did exactly
23 the same thing and has exactly the same policies and practices. In a transparent
24 attempt to cover up the deficiencies of the SAC with heft, Plaintiff breaks out the
25 pleading as to each Defendant to assert separate sub-classes. But, the nearly 800
26 paragraphs that set forth the claims of each sub-class turn out to be 16 repetitions of
27 the exact same 48 paragraphs, containing the same allegations, and using the
28                                            - 15 -
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  1 exact same words (changing only the name of each Defendant, as defined in the
  2 SAC).
  3         Plaintiff¶s generalized pleading simply does not comply with the dictates of
  4 either Rule 8 or the controlling case law. This is because each Defendant has no fair
  5 or meaningful notice of the specific conduct that it engaged in as part of the alleged
  6 discriminatory lending practices that purportedly impacted its borrowers. Twombly,
  7 127 S. Ct. at 1964-65. Alleging that all the Defendants did precisely the same thing
  8 is to allege nothing specific about any of them.
  9         That this prolix complaint nevertheless is not sufficiently particularized is
10 perhaps best understood by comparing the FAC and the SAC. The FAC consisted of
11 503 paragraphs and 104 pages, and rested chiefly on liability allegations that lumped
12 a slightly different collection of 18 defendant financial institutions together as
13 ³Defendants,´ and alleged, over 22 paragraphs, that ³Defendants´ all did the same
14 things. (FAC ¶¶ 50-71.) Following a ³meet and confer´ among counsel concerning
15 a motion to dismiss Defendants were preparing that addressed these types of
16 deficiencies, the NAACP took virtually the same 22 paragraphs and re-alleged them,
17 only this time using each Defendant¶s name. (E.g., SAC ¶¶ 49-70.) The only
18 apparent change was to include identical allegations (once for each defendant) of
19 2006 census data of household income levels. (Compare FAC ¶ 69 with SAC ¶ 68.)
20 This exercise made the pleading longer, but not more specific.          Indeed, by its
21 repetition, the SAC and the FAC suffer from the same defect²namely, treating a
22 host of disparate parties identically without explanation. Appalachian Enters., Inc. v.
23 ePayment Solutions, Ltd., No. 01-CV-11502 (GBD) 2004 WL 2813121, at *6
24 (S.D.N.Y. Dec. 8, 2004); In re McKesson HBOC, Inc. ERISA Litig., No. C00-
25 20030, 2002 WL 31431588 (N.D. Cal. Sept. 30, 2002).
26          This pleading deprives each Defendant of a fair and meaningful opportunity to
27 defend itself. Fed. R. Civ. P. 8(a); ePayment Solutions, Ltd., 2004 WL 2813121, at
28                                           - 16 -
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  1 *6.    The Supreme Court has made clear that Rule 8¶s ³showing´ requirement
  2 necessitates that a plaintiff set forth ³[f]actual allegations [that are] enough to raise a
  3 right to relief above the speculative level . . . on the assumption that all the
  4 allegations in the complaint are true (even if doubtful in fact).´ Twombly, 127 S. Ct.
  5 at 1964-65. A complaint without factual allegations specific to a defendant (other
  6 than allegations identifying it as party), such as the SAC here, fails to meet this
  7 standard (particularly given Plaintiff has already amended its operative pleading to
  8 address such defects) and must be dismissed with prejudice. Id.
  9        In Twombly, the Supreme Court considered and rejected a similarly deficient
10 complaint.     There, the complaint contained only conclusory allegations that the
11 defendants had entered into ³agreements´ to refrain from competing against each
12 other and had engaged in ³parallel conduct´ unfavorable to competition, in violation
13 of the Sherman Act¶s prohibition against a ³contract, combination . . . or conspiracy,
14 in restraint of trade or commerce.´ Twombly, 127 S. Ct. at 1961-62. The Supreme
15 Court held that the complaint failed to state a claim under the Sherman Act because
16 it lacked specific factual allegations that would suggest that the defendants had
17 entered into an agreement in restraint of trade. Id. at 1961, 1965. The Court¶s
18 decision was based, in part, upon its recognition that defending even ³anemic cases´
19 is ³expensive.´ Id. at 1967. And, based upon this recognition, the Court held that
20 Rule 8¶s pleadings requirements serve a gatekeeper function, vesting a district court
21 with ³µthe power to insist upon some specificity in pleading before allowing a
22 potentially massive factual controversy to proceed.¶´ Id. at 1967 (citation omitted).
23 This Court should exercise that power here, and not allow this lawsuit alleging wide-
24 ranging discrimination by 18 different named Defendants to proceed in absence of
25 specific factual allegations to sustain it.
26
27
28                                               - 17 -
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  1        B.    Plaintiff Has Failed to State a Disparate Impact Claim Under Its
                 First and Second Causes of Actions.
  2
  3        Plaintiff¶s FHA and ECOA counts present ³disparate impact´ claims, that
  4 Defendants¶ facially neutral policies and practices ³have a disproportionately adverse
  5 effect on African Americans compared with similarly situated Caucasian applicants.´
  6 (E.g., SAC ¶ 77.) See, e.g., Int¶l Bhd. of Teamsters v. United States, 431 U.S. 324,
  7 335, n.15, 97 S. Ct. 1843, 1854, 52 L. Ed. 2d 396 (1977). The SAC does not state
  8 such a claim because it is comprised of nothing more than broad and vague
  9 allegations, ignoring repeated directions from the Supreme Court that complaints of
10 racial discrimination must be specific, targeted, and plausible. City of Jackson, 544
11 U.S. at 241; Wards Cove Packing Co. v. Atonio, 490 U.S. 642, 657, 109 S. Ct. 2115,
12 2125, 104 L. Ed. 2d 733 (1989), superseded on other grounds by statute, Civil Rights
13 Act of 1991, Pub. L. No. 102-166, 105 Stat. 1074; Watson v. Fort Worth Bank &
14 Trust, 487 U.S. 977, 991-93, 108 S. Ct. 2777, 2787-88, 101 L. Ed. 2d 827 (1988).
15 The Court requires such specificity because otherwise there is an intolerable risk that
16 an advocate can abuse the disparate impact theory of recovery by providing vague
17 allegations or proof where chance, unexplained coincidence, or other factors, rather
18 than the defendant¶s conduct, are the real cause of any disparities. Id.
19         For a disparate impact case to be ³plausible´ (Twombly, 127 S. Ct. at 1966),
20 NAACP must set forth, inter alia, (1) a specific and clearly delineated practice or
21 policy adopted by a defendant, (2) a disparate impact on a protected group, and (3)
22 facts demonstrating a causal connection between the specific challenged practice or
23 policy and the alleged disparate impact. Wards Cove, 490 U.S. at 657-58; City of
24 Jackson, 544 U.S. at 241; Paige v. California, 291 F.3d 1141, 1144-45 (9th Cir.
25 2002). Plaintiff¶s SAC fails to allege any of these required elements.
26                      1.     Plaintiff Fails to Allege an Actionable Policy.
27         As the basis for its claim, Plaintiff inaccurately alleges that all the Defendants
28                                            - 18 -
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  1 have five identical practices:
  2       1.     Defendants ³market[ed] subprime residential loan products
                 directly to consumers, without providing applicants with
  3              sufficient information on how to purchase prime residential
                 mortgage products . . . ;´
  4
          2.     Defendants ³market[ed] residential mortgage loans that have
  5              µteaser¶ rates or the initial rates for µOption AR0¶ORDQV;´
  6       3.     Defendants ³provid[ed] financial incentives for mortgage brokers
                 to steer consumers to subprime residential mortgage products in
  7              lieu of prime residential mortgage products . . . ;´
  8       4.     Defendants did ³not provid[e] meaningful review of loan
                 applications to determine whether the applicant qualifies for a
  9              prime residential mortgage product . . . ;´ and
10        5.     Defendant ³evaluat[ed] each applicant¶s ability to pay based upon
                 only the lower initial rate, and not [any] subsequent adjusted
11               higher rate that will be due under the loan.´
12 (E.g., SAC ¶¶ 76, 78, 88-89) (allegations against Ameriquest.)            None of these
13 asserted policies are sufficient to support Plaintiff¶s FHA and ECOA claims.
14        The first two of the alleged µpolicies,¶ concern how loans were ³marketed,´
15 and are incomprehensible, as it is not at all clear what Plaintiff means by
16 µmarketing.¶ Each also is too vague to support a claim. A plaintiff bringing a
17 disparate impact case must ³isolat[e] and identify[] the specific . . . practices´ that it
18 contends cause discriminatory effects. Watson, 487 U.S. at 994; see also City of
19 Jackson, 544 U.S. at 241; Llamas v. Butte Cmty. Coll. Dist., 238 F.3d 1123, 1127
20 (9th Cir. 2001). That Defendants ³market[ed]´ products and supposedly failed to
21 provide ³sufficient information´ are not allegations of specific policies, and are too
22 generalized to state a claim. Stout v. Potter, 276 F.3d 1118, 1124 (9th Cir. 2002).
23        The third alleged policy concerns ³financial incentives´ to mortgage brokers.
24 Plaintiff alleges no facts about the actual, applicable compensation policy of any one
25 Defendant, and pleads no specifics as to what the ³financial incentives to steer
26 customers´ were. Again, without specifics, Plaintiff has done no more than allege a
27 generalized policy insufficient to state a disparate impact claim. Stout, 276 F.3d at
28                                            - 19 -
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  1 1124.
  2         The two remaining alleged policies, concerning loan review and evaluation,
  3 also allege nothing specific to any Defendant. Plaintiff¶s assertion that ³Defendants´
  4 provide no ³meaningful´ review of loan applications is, again, too vague under
  5 Supreme Court precedent.        The alleged failure of Defendants to evaluate an
  6 applicant¶s ability to pay based on ³the subsequent higher adjusted rate´ is deficient
  7 because it does not include details showing a ³plausible´ basis for a claim to
  8 proceed.
  9         Courts frequently dismiss cases in which plaintiffs, as here, fail to plead an
10 alleged policy with specificity. See, e.g., Syverson v. Int¶l Bus. Machs. Corp., No.
11 C-03-04529, 2007 WL 2904252, at *6 (N.D. Cal. Oct. 3, 2007).5 As the Supreme
12 Court held in Twombly, a district court ³must retain the power to insist upon some
13 specificity in pleading before allowing a potentially massive factual controversy to
14 proceed.´ Twombly at 1967 (quotation omitted).
15                      2.     Plaintiff Fails to Allege a Disparate Impact.
16          Plaintiff¶s FHA and ECOA claims are also deficient because the complaint
17 fails to allege specific facts showing a disparate impact as to a particular protected
18 class with respect to loans made by any individual Defendant. See Watson, 487 U.S.
19 at 994-95; Wards Cove, 490 U.S. at 657. Plaintiff attempts to plead a disparate
20 impact based solely upon ³statistical analysis´ of aggregate industry data by the
21 Federal Reserve and various housing advocate groups. (SAC ¶¶ 6-8, 44-48, and 58-
22 64.) But, this analysis fails to state a disparate impact claim because it is not specific
23 to any one of the Defendants or those who borrowed from them. The SAC contains
24    5
      See also Caputo-Conyers v. Berkshire Realty Holdings, LP, No.
25 6:05CV341ORL31KRS, 2005 WL 1862697 (M.D. Fla. Aug. 2, 2005); Kulkarni v.
   City Univ. of N.Y., No. 01 CIV 10628, 2002 WL 1315596, *1-2 (S.D.N.Y. June 14,
26 2002); Rodriguez v. Beechmont Bus Serv., Inc., 173 F. Supp. 2d 139, 148 (S.D.N.Y.
   2001); Burrell v. State Farm Fire & Casualty Co., No. CIV 5733, 2001 WL 797461,
27 *10 (S.D.N.Y. July 12, 2001).
28                                            - 20 -
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  1 no allegations about the terms of any specific subprime loan made by any Defendant
  2 to any borrower. Nor does it contain any statistical information about loans made by
  3 any individual Defendant. Such defendant-specific factual allegations are essential
  4 for the Court to evaluate whether each individual Defendant is treating similarly-
  5 situated borrowers differently. The aggregate data from as many as 9,000 lenders
  6 that Plaintiff cites does not establish that any particular lender engages in
  7 discrimination. The SAC, thus, fails to demonstrate a ³plausible´ right to relief.
  8        Even if the Court could look beyond this fatal flaw, it is not ³plausible´ on the
  9 face of the SAC that Plaintiff could prevail because the cited data suggests only, at
10 most, that African-Americans as a group obtain higher-priced subprime loans more
11 frequently than Caucasians as a group. But, Plaintiff¶s theory is not that Defendants
12 are liable for making more higher-priced loans to African-Americans generally, so
13 the data is irrelevant. Instead, Plaintiff¶s theory is that two smaller, sub-groups of
14 African-Americans are disadvantaged by obtaining subprime loans of two types: (1)
15 African-Americans who should have qualified for prime loans, but allegedly
16 obtained higher-cost subprime loans (the ³prime qualified´), (e.g., SAC ¶¶ 3, 10, 36,
17 58), and (2) African-Americans who should not have qualified for loans at all, but
18 obtained subprime loans (the ³unqualified´). (e.g. SAC ¶¶ 3, 36, 69.) The cited data
19 patently fails to support ³plausible´ causes of action concerning whether prime
20 qualified or unqualified African-American borrowers received more subprime loans
21 of any type.
22         Plaintiff¶s use of rhetoric to hide the defects in the cited studies is unavailing.
23 All but one of the studies are based on aggregate data, which Federal Reserve
24 economists have concluded simply do not show disparate discriminatory impact²a
25 fact even Plaintiff concedes. Avery et al., supra, at 345, 393 (Summer 2005); SAC
26 ¶ 60. This is because many of the factors that affect the type of loan available and its
27 pricing are not captured or reported as part of this data. Id. The only factual
28                                            - 21 -
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  1 allegation based on data that purports to control for the missing factors, a 2006 study
  2 by the advocacy group Center for Responsible Lending (³CRL´), (SAC ¶¶ 6 and 60-
  3 64), falls far short of the Rule 8 mark because it is not lender-specific and does not
  4 compare groups of ³prime qualified´ and ³unqualified´ borrowers. As the CRL
  5 VWXG\ LWVHOIH[SODLQV LW³ZDVQRW ODUJHHQRXJKWRFRQWURO IRU PHWURSROLWDQVWDWLVWLFDO
  6 DUHD RU IRU LQGLYLGXDO OHQGHUV´ DQG WKH ³PHUJHG GDWD    QHLWKHU DOORZV IRU DQ
  7 evaluation of pricing disparities that includes the prime market, nor provides any
  8 insight into how different borrowers end up with prime rather than subprime
  9 OHQGHUV´'HEELH*UXHQVWHLQ%RFLDQHWDOUnfair Lending: The Effect of Race and
10 Ethnicity on the Prices of Subprime Mortgages (May 31, 2006) at 15, available at
11 http://www.responsiblelending.org/pdfs/rr011-Unfair_Lending-0506.pdf.
12          A disparate impact can only be proven by comparing those who are similarly-
13 situated. Wards Cove, 490 U.S. at 651-53; Moore v. Hughes Helicopters, Inc., 708
14 F.2d 475, 482 (9th Cir. 1983). Plaintiff here makes the same mistake the Supreme
15 Court in Wards Cove found fatal to a disparate impact claim; it relies on statistical
16 comparisons of broadly-defined groups of people that do not mirror the composition
17 of the groups of persons allegedly harmed. See Wards Cove, 490 U.S. at 651-53.
18 Despite this requirement, the SAC contains no allegation comparing outcomes for
19 two similarly-situated groups of prime qualified borrowers, or for two similarly-
20 situated groups of unqualified borrowers. Moreover, the SAC itself defeats even the
21 grossly-broad comparison of Caucasians as a group to minorities as a group, when it
22 concedes that credit scores of Caucasians, as a group, are higher than those of
23 minorities, as groups. To survive, the SAC must compare apples to apples, not
24 apples to oranges. See ColletteY6W/XNH¶V5RRVHYHOW+RVS, 132 F. Supp. 2d 256,
25 278 (S.D.N.Y. 2001).          Without that comparison, the SAC has not made out a
26 plausible claim and must be dismissed with prejudice. See, e.g., Collette, 132 F.
27
28                                                - 22 -
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  1 Supp. 2d 256, 278 (S.D.N.Y. 2001); Johnson v. County of Nassau, 480 F. Supp. 2d
  2 581, 598-99 (E.D.N.Y 2007).
  3                   3.   Plaintiff Fails to Allege a Causal Connection between
                           $Q\'HIHQGDQW¶V Policies and the Alleged Disparate
  4                        Impact.
  5       To meet the final element of a disparate impact claim, plaintiff must allege
  6 that the challenged policy caused the perceived imbalance.          Merely showing a
 7 bottom line disparity is not enough:
 8       Respondents will . . . have to demonstrate that the disparity they
         complain of is the result of one or more of the [ ] practices that they are
 9       attacking here, specifically showing that each challenged practice has a
         significantly disparate impact on [ ] opportunities for whites and
10       nonwhites.
11 Wards Cove, 490 U.S. at 657. See also Brown v. Coach Stores, Inc., 163 F.3d 706,
12 712 (2d Cir. 1998).
13        Here, Plaintiff alleges, insufficiently, only a ³bottom line . . . imbalance,´ with
14 no discernable connection between any particular Defendant¶s alleged policies and
15 that imbalance. Wards Cove, 490 U.S. at 657. It does not allege in any meaningful
16 way whether, or how, the five identified policies²rather than some other factors, or
17 chance²caused prime qualified African-Americans to obtain more subprime loans
18 than Caucasians, or caused more unqualified African-Americans to choose more
19 subprime loans than unqualified Caucasians. Plaintiff¶s conclusory assertions of
20 causation (e.g., SAC ¶¶ 81, 91) are not enough. Twombly, 127 S. Ct. at 1966;
21 Collette, 132 F.Supp.2d at 278; Syverson, 2007 WL 2904252, at *6; Burrell v. State
22 Farm Fire & Casualty Co., No. CIV 5733, 2001 WL 797461, at *10 (S.D.N.Y. Jul.
23 12, 2001); Trezza v. Hartford, Inc., No. 98 CIV 2205, 1998 WL 912101, at *8
24 (S.D.N.Y. Dec. 30, 1998).
25        C.     Plaintiff Has Failed to State an Intentional Discrimination Claim.
26        Plaintiff also alleges that Defendants engaged in intentional discrimination, in
27 violation of the Civil Rights Act. (SAC, ³Third Cause of Action.´) It is well settled
28                                           - 23 -
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  1 that the Civil Rights Act requires proof of intentional discrimination due to race, and
  2 that disparate impact liability is not available. See, e.g., Evans v. McKay, 869 F.2d
  3 1341, 1344 (9th Cir. 1989). Plaintiff, however, alleges intent only as a conclusion,
  4 without supporting facts.     Notably absent is any specific factual assertion, for
  5 example, that a single loan officer marked up an interest rate or made additional
  6 charges as a result of racial animus, let alone that even one of the Defendants,
  7 including many of the nation¶s largest lenders, consciously or deliberately decided to
  8 discriminate against African-Americans nationwide. A ³formulaic recitation of the
  9 elements of a cause of action´ is inadequate to state a claim. Twombly, 127 S. Ct. at
10 1964-65 & n.3. For these reasons, Plaintiff¶s intentional discrimination claims also
11 must be dismissed with prejudice.
12 IV.     NEITHER THE FHA NOR THE ECOA PERMITS DISPARATE
           IMPACT CLAIMS.
13
14         Separate from Plaintiff¶V IDLOXUHWRSURSHUO\ SOHDG LWVDOOHJDWLRQV LQWKe SAC,
15 Plaintiff cannot state cognizable disparate impact claims under either the ECOA or
16 the FHA. As the Supreme Court¶s recent decision in City of Jackson, 544 U.S. 228,
17 demonstrates, neither statute provides for liability under a disparate impact theory.
18         Under the City of Jackson opinion, an anti-discrimination statute¶s text, not a
19 broad reading of its purpose, determines whether it permits disparate impact claims.
20 In City of Jackson, the Court considered whether the Age Discrimination in
21 Employment Act (³ADEA´) permits disparate impact claims. Noting the similarity
22 between the ADEA and Title VII, the Court reviewed its Title VII jurisprudence for
23 guidance²and, in the process, emphasized that Title VII disparate impact
24 jurisprudence is firmly rooted in the statutory text. Justice Stevens¶ plurality opinion
25 clarifies that the Court¶s holding in Griggs v. Duke Power Co., 401 U.S. 424, 91 S.
26 Ct. 849, 28 L. Ed. 2d 158 (1971) (construing Title VII to permit disparate impact
27 liability), was based on the ³interpretation of § 703(a)(2) of Title VII.´ City of
28                                            - 24 -
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  1 Jackson, 544 U.S. at 234. The Court acknowledged that its opinion in Griggs relied
  2 in part on the purposes of Title VII, but explained it has ³subsequently noted´ that its
  3 Title    VII   disparate    impact    jurisprudence    derives   from       the   text   of
  4 § 703(a)(2) of Title VII, not an analysis of the Act¶s overall purposes. Id. at 235. By
  5 clarifying that its holding in Griggs was rooted in the text of Title VII rather than
  6 being implied by the statute¶s overall purposes²and by basing its disparate impact
  7 analysis under the ADEA on the text of that statute²City of Jackson reaffirms the
  8 primacy of the statutory text in construing anti-discrimination statutes.
  9         The Court¶s analysis in City of Jackson shows that neither the text of the FHA,
10 nor the text of ECOA, permits disparate impact claims. The Court, thus, explained
11 that disparate impact claims under Title VII are permitted by the ³effects´ language
12 of § 703(a)(2). § 703(a) provides:
13          (a) It shall be an unlawful employment practice for an employer -
14
            (1) to fail or refuse to hire or to discharge any individual, or otherwise
15          to discriminate against any individual with respect to his
            compensation, terms, conditions, or privileges of employment, because
16          of such individual¶s race, color, religion, sex, or national origin; or
17          (2) to limit, segregate, or classify his employees or applicants for
            employment in any way which would deprive or tend to deprive any
18          individual of employment opportunities or otherwise adversely affect
            his status as an employee, because of such individual¶s race, color,
19          religion, sex, or national origin.
20 Title VII § 703(a), 42 U.S.C. § 2000e-2(a) (emphasis added). The Court, thus, held
21 that the text of ADEA § 4(a)(2)²which mirrors Title VII § 703(a)(2) and prohibits
22 actions that ³otherwise adversely affect´ the employee¶s status²required it to
23 conclude that the ADEA permits disparate impact claims. City of Jackson, 544 U.S.
24 at 235-38. Central to its reasoning was that ³the text focuses on the effects of the
25 action on the employee rather than the motivation for the action of the employer.´
26 Id. at 236 (emphasis in original).
27          In addition to explaining that Title VII § 703(a)(2) and ADEA § 4(a)(2) both
28                                            - 25 -
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  1 permit disparate impact claims, the Court clarified that subsection (a)(1) of each
  2 statute²the subsection which both the FHA and ECOA mirror²does not. The
  3 Court noted that there are ³key textual differences´ between subsections (a)(1) and
  4 (a)(2) of both Title VII § 703 and the ADEA § 4. City of Jackson, 544 U.S. at 236
  5 n.6. Whereas Subsection (a)(2) permits disparate impact claims, the Court explained
  6 that Subsection (a)(1) encompasses disparate treatment, but ³does not encompass
  7 disparate-impact liability,´ and requires a showing of intent. Id. at 236-38 & n.6
  8 (emphasis added). This is because ³the focus of the paragraph is on the employer¶s
  9 actions with respect to the targeted individual.´ Id. at 236 n.6. And, although the
10 Justices disagreed as to whether ADEA Section 4(a)(2) permits disparate impact
11 claims, the Court was unanimous that Section 4(a)(1) does not. See id. at 236 n.6;
12 id. at 243 (Scalia, J., concurring) (³I agree with all of the Court¶s reasoning . . . .´);
13 id. at 249 (O¶Connor, J., dissenting) (³Neither petitioners nor the plurality contend
14 that the first paragraph, § 4(a)(1), authorizes disparate impact claims, and I think it
15 obvious that it does not. That provision plainly requires discriminatory intent . . . .´).
16        The Court¶s clarification of Title VII and the ADEA¶s disparate treatment and
17 impact provisions shows that neither the FHA, nor the ECOA, permits disparate
18 impact claims. The language of ECOA § 701 and FHA § 805 mirror Title VII
19 § 703(a)(1) and ADEA § 4(a)(1), which permit disparate treatment claims, but not
20 disparate impact claims. Compare Title VII, § 703(a)(1), 42 § U.S.C. 2000e-2(a)(1),
21 and ADEA § 4(a)(1), 29 § U.S.C. 623(a)(1), with ECOA § 701(a)(1), 15 U.S.C.
22 § 1691(a)(1), and FHA § 805(a), 42 U.S.C. 3605(a). Moreover, neither the ECOA
23 nor the FHA has language focusing on the effects of actions comparable to the
24 language of Title VII § 703(a)(2) or ADEA § 4(a)(2) that supports disparate impact
25 claims. This is demonstrated in the following table:
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  1          Title VII                 ADEA                       ECOA                    FHA
      (a) It shall be an         (a) It shall be             (a) It shall be      (a) It shall be
  2   unlawful employment        unlawful for an             unlawful for any     unlawful for any
      practice for an            employer: (1) to            creditor to          person or other entity
  3   employer²(1) to fail       fail or refuse to           discriminate         whose business
      or refuse to hire or to    hire or to discharge        against any          includes engaging in
      discharge any              any individual or           applicant, with      residential real estate-
  4   individual, or             otherwise                   respect to any       related transactions to
      otherwise to               discriminate                aspect of a credit   discriminate against
  5   discriminate against       against any                 transaction²(1)      any person in making
      any individual with        individual with             on the basis of      available such a
  6   respect to his             respect to his              race, color,         transaction, or in the
      compensation, terms,       compensation,               religion, national   terms or conditions of
  7   conditions, or             terms, conditions,          origin, sex or       such a transaction,
      privileges of              or privileges of            marital status, or   because of race,
  8   employment, because        employment,                 age (provided the    color, religion, sex,
      of such individual¶s       because of such             applicant has the    handicap, familial
  9   race, color, religion,     individual¶s age;           capacity to          status, or national
      sex, or national origin;                               contract);           origin.
10    (a) It shall be an         (a) It shall be             None.                None.
      unlawful employment        unlawful for an
      practice for an            employer- . . .
11    employer ±                 (2) to limit,
      (2) to limit, segregate,   segregate, or
12    or classify his            classify his
      employees or               employees in any
13    applicants for             way which would
      employment in any          deprive or tend to
14    way which would            deprive any
      deprive or tend to         individual of
15    deprive any individual     employment
      of employment              opportunities or
16    opportunities or           otherwise
      otherwise adversely        adversely affect his
17    affect his status as an    status as an
      employee, because of       employee, because
18    such individual¶s race,    of such
      color, religion, sex, or   individual¶s age . . .
      national origin.           .
19
20          These differences are dispositive of Congress¶s intent in enacting the ECOA
21 and the FHA. As the Court explained, ³when Congress uses the same language in
22 two statutes having similar purposes, particularly when one is enacted shortly after
23 the other, it is appropriate to presume that Congress intended that text to have the
24 same meaning in both statutes.´ City of Jackson, 544 U.S. at 233-34. On this basis,
25 the Court concluded that an ³effects´ provision in the ADEA comparable to Title
26 VII¶s ³effects´ provision meant Congress intended to permit disparate impact claims.
27 Id. at 235-38.         In accordance with this rule of statutory construction, the
28                                                  - 27 -
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  1 ³discriminate against . . . because of/on the basis of´ language in the FHA and
  2 ECOA must have the same meaning as Title VII and the ADEA¶s identical language.
  3 The Justices were unanimous that such language permits only disparate treatment
  4 claims, not disparate impact claims. This Court, therefore, must view the omission
  5 of ³effects´ language from the FHA and ECOA, as intentional and conclusive that
  6 neither the FHA nor ECOA permits disparate impact claims. See Garcia v. Johanns,
  7 444 F.3d 625, 633 n.9 (D.C. Cir. 2006) (³The Supreme Court has held that this
  8 [µeffects¶] language gives rise to a cause of action for disparate impact discrimination
  9 under Title VII and the ADEA. ECOA contains no such language.´).
10         The Supreme Court¶s interpretation of other anti-discrimination statutes
11 further demonstrates that neither the FHA nor the ECOA permits disparate impact
12 claims. When the statutory text creates a cause of action based on the ³effects´ or
13 ³results´ of actions, the Court has held that the statute permits disparate impact
14 claims. See, e.g., Griggs, 401 U.S. at 429-31 (Title VII); City of Jackson, 544 U.S.
15 at 232-35 (ADEA); Raytheon v. Hernandez, 540 U.S. 44, 53, 124 S. Ct. 513, 520,
16 157 L. Ed. 2d 357 (2003) (ADA, which mirrors Title VII). In contrast, when the
17 statutory text lacks a provision creating a cause of action based on ³effects´ of
18 actions, the Court has held that the statute does not permit disparate impact claims.
19 See, e.g., Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 178, 125 S. Ct. 1497,
20 1506-1507, 161 L. Ed. 2d 361 (2005) (Title IX); Alexander v. Sandoval, 532 U.S.
21 275, 280-81, 121 S. Ct. 1511, 1516-1517, 149 L. Ed. 2d 517 (2001) (Title VI).
22         Plaintiff, likely, will argue that the purposes of the FHA and the ECOA
23 support the view that disparate impact claims are cognizable under both Acts and
24 that the Court should focus on the Acts¶ purposes rather than their text²but such an
25 argument begs the question of what Congress intended to prohibit. The Court has
26 explained that the purpose of a statute includes both what it sets out to change and
27 what it resolves to leave alone, with the adopted statutory text being the best
28                                            - 28 -
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  1 evidence of that purpose. See, e.g., Rodriguez v. United States, 480 U.S. 522, 526,
  2 107 S. Ct. 1391, 1393, 94 L. Ed. 2d 533 (1987). The plain language of each Act
  3 prohibits only ³discriminat[ion]´²not the disparate ³effects´ of facially neutral
  4 actions²which shows that Congress intended both Acts to prohibit only intentional
  5 discrimination. As U.S. Solicitor General Fried stated in the amicus curiae brief
  6 filed on behalf of the United States in Town of Huntington v. Huntington Branch,
  7 NAACP, 488 U.S. 15, 109 S. Ct. 276, 102 L. Ed. 2d 180 (1988), ³[t]he legislative
  8 history [of the FHA] reinforces the understanding [from the text of the statute] that
  9 Congress intended to require a showing of intentional discrimination.´6 And, as the
10 Supreme Court has made clear, any interpretation of the FHA ³that would proscribe
11 conduct by the recipient having only a discriminatory effect . . . do[es] not simply
12 µfurther¶ the purpose of [the statute]; [it goes] well beyond that purpose.´ Alexander,
13 532 U.S. at 286 n.6 (citation omitted and emphasis in original). The presence of
14 language supporting only disparate treatment²and not disparate impact²shows that
15 Congress did not intend either the FHA or the ECOA to permit disparate impact
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25   6
     Brief for United States as Amicus Curiae, Town of Huntington v. Huntington
26 Branch, NAACP, 488 U.S. 15 (1988) (No. 87-1961) (arguing that the statutory text
   ³VWURQJO\ VXJJHVWV D UHTXLUHPHQW RI GLVFULPLQDWRU\ PRWLYDWLRQ´  available at
27 http://www.usdoj.gov/osg/ briefs/1987/sg870004.txt.
28                                          - 29 -
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  1 claims.7 Because the FHA and the ECOA do not contain the required ³effects´
  2 language, the Court should dismiss Plaintiff¶s disparate impact claims with
  3 prejudice.
  4 V.      PLAINTIFF¶S FHA CLAIMS SHOULD BE DISMISSED BECAUSE
            THEY ARE MUTUALLY EXCLUSIVE OF ITS ECOA CLAIMS.
  5
  6         To the extent Plaintiff is entitled to any relief for its allegations of
  7 discriminatory mortgage lending in this action²which it is not²the Court should
  8 restrict Plaintiff¶s ability to proceed under both the ECOA and the FHA by
  9 dismissing Plaintiff¶s FHA claim. As Section 706(i) of the ECOA provides:
10
            No person aggrieved by a violation of this title and by a violation of
11          section 805 of the Civil Rights Act of 1968 [Section 805 of the FHA]
            shall recover under this title and section 812 of the Civil Rights Act of
12          1968, if such violation is based on the same transaction.

13
14    7
        Importantly, all existing Ninth Circuit disparate impact precedent to the contrary
15    borrows the disparate impact theory from Title VII cases. See Keith v. Volpe, 858
      F.2d 467, 482-83 (9th Cir. 1988) (relying on precedent from other courts that
16    incorporated into the FHA the disparate impact theory from Title VII without
      properly considering the statutory language of the FHA); Miller v. Am. Express Co.,
17    688 F.2d 1235, 1239-40 (9th Cir. 1982) (relying on similarly flawed cases to reach
      WKHVDPHUHVXOWUHJDUGLQJWKH(&2$ $IWHUWKH6XSUHPH&RXUW¶VFODULILFDWLRQRILWV
18    Title VII jurisprudence in City of JacksonZKLFKUHTXLUHVWKHSUHVHQFHRI³HIIHFWV´
      language in the statute, these holdings and their underpinnings are no longer valid.
19    $FFRUGLQJO\ WKH\ DQG WKHLU SURJHQ\ ³PXVW EH UHJDUGHG DV UHWDLQLQJ QR YLWDOLW\´
      Limbach v. Hooven & Allison Co., 466 U.S. 353, 360-61, 104 S. Ct. 1837, 1842-
20    1843, 80 L. Ed. 2d 356 (1984). This Court also cannot and need not reconcile a
      recent unpublished ruling by Judge Phillips in Garcia v. Countrywide Fin. Corp., No.
21    EDCV 07-1161-VAP (JCRx) (C.D. Cal. Jan. 15, 2008) (holding the FHA permits
      disparate impact claims in spite of City of Jackson), with the City of Jackson
22    decision. In Garcia, Judge PhilOLSVQHYHUDGGUHVVHGWKH6XSUHPH&RXUW¶Vunanimous
      KROGLQJ WKDW WKH ³GLVFULPLQDWH DJDLQVW    EHFDXVH RI´ IRUPXODWLRQ²the only
23    formulation contained in the FHA²cannot support disparate impact claims. Judge
      Phillips also relied on the purposes of the FHA rather than the text of the statute²an
24    invalid approach after City of Jackson. These reasons, among others, show that
      -XGJH3KLOOLSV¶KROGLQJLVFRQWUDU\WRWKH)+$¶VWH[WDQGCity of Jackson.
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  1 ECOA § 706(i), (codified at 15 U.S.C. § 1691e(i)).8 The text and meaning of the
  2 ECOA § 706(i) is plain, and most courts that have considered the provision have
  3 confirmed that the ECOA and the FHA provide a Plaintiff with mutually exclusive,
  4 and not alternative, rights of recovery. See, e.g., Cooley v. Sterling Bank, 280 F.
  5 Supp. 2d 1331, 1337 n.4 (M.D. Ala. 2003), aff¶d, 116 Fed. App¶x. 242 (11th Cir.
  6 2004) (³Although the Plaintiff raises claims under both the ECOA and FHA, the
  7 court notes that the Plaintiff would only be entitled to recovery under one statute.´).
  8 Accordingly, a Plaintiff that brings a claim under the ECOA, cannot also predicate a
  9 companion claim on the same transaction or set of transactions under the FHA.
10 Plaintiff in this action seeks to do precisely this. For this reason, the Court should
11 dismiss Plaintiff¶s FHA claim with prejudice.
12                                     CONCLUSION
13                For all the foregoing reasons, the Defendants¶ motion should be granted
14 and Plaintiff¶s SAC should be dismissed with prejudice.
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22     In 1976, Congress enacted ECOA § 706(i). At that time, FHA Section 812
     JRYHUQHG³(QIRUFHPHQWE\3ULYDWH3HUVRQV´See Pub. L. No. 94-239 § 6, 90 Stat.
23   251, 254-55 (1976); Pub. L. No. 90-284 § 812, 82 Stat. 73, 88 (1968). In 1988,
     Congress amended the FHA and, among other changes, moved the section governing
24   ³(QIRUFHPHQWE\3ULYDWH3HUVRQV´IURP6HFWLRQWR6HFWLRQSee Pub. L. No.
     100-430, § 8, 102 Stat. 1619, 1625 (1988). The reference in ECOA § 706(i) has not
25   been updated to reflect this change, but it is clear that Congress intended § 706(i) to
     UHIHUHQFHWKHVHFWLRQRI WKH )+$WKDWDGGUHVVHV³(QIRUFHPHQWE\3ULYDWH3HUVRQV´
26   See, e.g., (VWDWH RI .XQ]H Y &RPP¶U, 233 F.3d 948, 953 (7th Cir. 2000) (holding
     that a plainly erroneous cross-UHIHUHQFH ³FDQ KDUGO\ EH FRQVWUXHG WR KDYH FKDQJed
27   WKHOHJLVODWLYHLQWHQWRUWRKDYHDIIHFWHGWKHVXEVWDQWLYHULJKWV>DWVWDNH@´ 
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  1                               ECF CERTIFICATION
  2        The filing attorney attests that he has obtained concurrence regarding the filing
  3 of this document from the signatories to this document.
  4
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